Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 1 of 35

 

IN THE Western District of Washington

1717 Pacific Avenue, Room 3100

Tacoma, Washington. 98402-3200; (253) 882-3800
Judge Robert J. BRYAN

Plaintiff:

David Merrill of the VAN PELT family
v.

Defendant:

THE UNITED STATES OF AMERICA

 

David Merrill
720 N 10th St; STE A
Renton, Washington. 98057

 

 

 

FILED

 

 

RECEIVED

MAR 03 2022

CLERK US, DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON AT TACOMA
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16-cv-5520 - 23D

 

 

 

Certificate of Service

 

 

COMES NOW David Merrill of the VAN PELT family AM I. This waiver of tort action

is on and for the behalf of the people and planet Earth.

Summary of Facts

The military force of America is ill, proven by Doc 47 of Northern Alabama USDC 21-

cv-702 attached. This while Hunter's leaky drive, obviously planted for WikiLeaks Discovery

outlines the terms of engagement for Russia to invade the Ukraine and subsequently to bail out

central banking by trafficking in human flesh and bone.

On or around early March of 2022 I tendered to Melvin CAHOON at Rock Solid Process

for hand service to the Tacoma USDC:

1. Certificate of Mailing Re: 4 pages Docs 21 and 22 first page/Return Receipt 7018

1830 0001 2788 7951

2. Twelve pages of Acknowledgement of Financial Interests - $20,000,000.00

including patent royalties assessment.

 
Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 2 of 35

3. Two pages of evidence that the Meeting to inoculate the Little People has indeed

been delayed
4, Three pages of evidence of mail fraud committed by the USPS and FDA as

described below:

Looking carefully the Assessment of Financial Interest arrived in Dulles, and Marrifield,

Virginia on February 16 and was delayed for ten days before it was sent to the Rockville,

Maryland post office for delivery.

These facts are true.

 
 
   

Redeemed Lawful ‘Money,
Pursuant to 12 USC;§4
www.law.cornell.edu/ustadefec**

 

    

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SENDER: COMPLETE THIS SECTION) COMPLETE Mae Ieee Mesa aba i

     

@ Complete items 1, 2, and 3.

M™ Print your name and address on the reverse
so that we can return the card to you,

@ Attach this card to the back of the mallplece,
or on the front if space permits.

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IN THE Western District of Washington1717
Pacific Avenue, Room 3100
Tacoma, Washington. 98402-3200; (253) 882-3800
judge Rabert 1. BRYAN

 

 

 

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David Meri!) ofthe VAN PELT family RECHIED :
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JAN 19 2022 |
Defendant: CLERKUS DISTRICT CORRT
WESTERN DISTRICT OF WASHINGTON aT Taco
THE UNITED STATES OF AMERICA et mh merece en
16-ev-8520 i

720 10th St: STE A

Rentoa, Waszingion. 98057

“Notice of United States Patent ; #11,999,999
THE TRIGGER

 

 

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COMES NOW David Menall of the VAN PELT family AM I. This action is on and for
the behalf of the people and planet Earth.
This is the application of US Patent 11,999,999; not an application for US Paicni
11,999,999. ‘This invention and my Natural Vaccine, Doc 15 herein, are both related ta my 2003
Invention “Exadication of SARS" - USPTO Documents Disclosure #531812. Docs 19 and 20 -
Finai Judgment - herem describes and defines proper Notice in good faith, that a much better

path could have been taken by humankind.

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Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 7 of 35

 

 

 

 

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INTHE Western District of Washington!717_ | Osehet Kune 082.
: : ific Avenue, Room 3100 iF snes and Related
Facoma, Washington. 98402-3200; (253) 882-3800 | Sele Products:
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: David Merrill of the VAN PELT family |
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Request for Gommeuts.
THE UNFTED STATES OF AMERICA
David Merril! 16-cv-5520
20 N 10th St; STE A
Renton, Was. -; on. 98057

 

 

Bill of Indictment
___.. 320,000,800.08

COMES NOW David Menill of the VAN PELT family AM L This waiver of tort action

is on and for the behalf of the people and planet Earth.

Summary of Facts
Recently, 1/19/22, an important Document 2] herein was filed in Tacoma, Washington
and on Page 3 was an important and deviant oath of office for one Victor J. WOLSKI. Page 2 of
Duc 21 shows the oath of Rebert BRYAN herein assigned this case as if he were a federal judge.
Lh document now shows Robert BRYAN's oath repeated on page 3 of Doc 21 instead of Victor
WUOLSKI's cath of office, as it was filed.
Title 18 USC §2076 Clerk of United States District Court -
Whoever, being a clerk of a district court of the United States willfully refuses or
neglects to make or forward any report, certificate, statement. or document as required bv
iaw, shall be fined under this title or imprisoned not more than one year, or both.

Title 18 USC §1512 - Tampering with a witness, victim or an informant -
(b)(2) cause or induce any person to—
Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 8 of 35

Rule 2A(b) USSC

 

(received on 2fitfrr. RE 285 186 771 US
To: Food and Drug Administration
Advisory Committee

Acknowledgment of Financial Interests

Name of Advisory Committee Supervisor’s Name: David Merrill ,

Committee: Vaccines and Related Products Advisory Committee (VRBPAC) Meeting Date:
February 15, 2022; Federal Register Cite: Federal Register Volume 87, Number 24 (Friday,
February 4, 2022) Pages 6571-6572 FR Doc No: 2022-02390 Pages Attached.

| acknowledge that contingent upon public disclosure of the following financial interest(s) related to

the meeting topic: The Committee will meet in open session to discuss a request to amend the
Emergency Use Authorization (EUA) of the Pfizer-BioNTech COVID-19 mRNA vaccine for
administration of their COVID-19 mRNA vaccine to children 6 months through 4 years of age, I may
be considered PENDRAGON for supervision of the advisory committee meeting described above.

 

_Type of Interest ~ —Nafure Magnitude
I. Personal/Immediate Family
Lien on State of Colorado Affected Firm $20,000,000.00
UCC-1 Secretary of State
#20092001574
TL Other Imputed Interests
US Patent and Trademark 2003 Patent "Eradication of $0.00 All proceeds donated to
Office SARS - #531812 May 3. humanity, not transhumans.
US Patent and Trademark COVID-19 Augmentations in $0.00 All proceeds donated to
Office USBC WWA 16-cv-5520 Docs humanity, not transhumans.
15 and 21.
Thank you for your consideration, /
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David Memill. setae fowl. cornaticed’ eae
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Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 9 of 35

 
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Federal Register/Vol 87, No. 24/Friday, February 4, 2022 / Notices

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information shall have practical utility;
(b) the accuracy of the agency’s estimate
of the burden of the proposed collection
of information; (c) the quality, utility,
and clarity of the information to be
collected; and (d) ways to minimize the
burden of the collection of information
on respondents, including through the
use of automated collection techniques
or other forms of information
technology. Consideration. will be given
to comments and suggestions submitted
within 60 days of this publication.

Authority: 42 U.S.C, 1313, 24 U.S.C.
321-329.

Mary B. Jones,

ACF/OPHE Certifying Officer.

{FR Doc. 2022-02374 Filed 2-322; 8:45 am}
GILLING CODE 4164-PL-P

DEPARTMENT OF HEALTH AND
HUMAN SERVICES

Food and Drug Administration

[Docket No. FDA-2022-N-0682]

Vaccines and Related Biological
Products Advisory Committee; Notice

of Meeting; Establishment of a Public
Docket; Request for Comments

AGENCY: Food and Drug Administration,
AHS. ‘

ACTION: Notice; establishment of a
public docket; request for comments.

N

note that late, untimely filed comments
will not be considered. The https://
www.resulations.gov electronic filing
system will accept comments until
11-59 p.m. Eastern Time at the end of
February 14, 2022. Comments received.
by mail/hand delivery/courier {for
written/paper submissions) will be
considered timely if they are received
on or before that date.

Comments received on or before
February 10, 2022, will be provided to
the committee. Comments received after
February 10, 2022, and by February 14.
2022, will be taken into consideration.
by FDA. In the event that the meeting
is cancelled, FDA will continue to
evaluate any relevant applications or
information, and consider any
comments submitted to the docket, as
appropriate.

‘ou may submit comments as
follows:

Electronic Submissions

Submit electronic comments in the
following way:

« Federal eRulemaking Portal:
Aittps://www-regulations.gov. Follow the
instructions for submittiag comments.
Comments submitted electronically,
including attachments, to hfips://
wwty.regulations.gov will be posted to

Nthe docket unchanged. Because your
9 comment will be made public, you are
solely responsible for ensuring that your

‘comment does not include any

 

SUMMARY: The Food and Drug
Administration (FDA) announces a
forthcoming public advisory committee:
meeting of the Vaccines and Related
Biological Products Advisory
Committee (VRBPAC). The general
function of the committee is to provid

advice and recommendations to FDA on

regulatory issues. The meeting will be
open to the public. FDA is establishing
a docket for public comment on this
document.
DATES: The meeting will be held on
February 15, 2022, from 8:30 a.m. to 5
p.m. Eastern Time.
ADDRESSES: Please note that due to the
impact of this COVID-19 pandemic, all
meeting participants will be joining
advisory committee meeting via an
online teleconferencing platform. ‘The
online web conference meeting will be
available at the following link on the
day of the mecling: hitps://youtu.be/
nGRNjZeZHNe.

FDA is establishing a docket for

docket number is FOA—2022-N—0082.

2022. Submit either electronic or
written comments on this public
meeting by February 14, 2022. Please

Ss
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public comment on this meeting. The wy

The docket will close on February 14, Vv

™ confidential information that you or a
third party may not wish to be posted,
such as medical information, your or
anyone else’s Social Security number, or
confidential business information, such
as a manufacturing process. Please nate
that if you include your name, contact
information, or other information that

g identifies you in the body of your

+. comments, that information will be

3 posted on https://www-regulations.gov.

@ ° Ifyou want to submit a comment
with confidential information that you
do not wish to be made available to the

{ public, submit the comment as a
written/paper submission and in the
manner detailed {see “Written/Paper
Submissions” and “Instructions”).

this,
®) Written/Paper Submissions

Submit written/paper submissions as
follows:

© Mail/Hand Delivery/Courter (for
wrillten/paper submissions): Dockets
Management Staff (HFA—305}, Food and
Drag Administration, 5630 Fishers
Lane, Rm. 1061, Rockville, MD 20852.

Par wri ‘paper comments
submitted to the Dockets Management
Staff, FDA will post your comment, as
well as any attachments, except for
information submitted, marked and

identified, as confidential, if submiticd
as detailed in “Instructions.”

Instructions: All submissions received
must include the Decket No. FDA—
2022-N-0082 for “Vaccines and Related
Biological Products Advisory
Committee; Notice of Meeting;
Establishment of a Public Docket;
Request for Comments.” Received
comments, those filed in a timely
mamner (see ADDRESSES), will be placed
in the docket and, except for those
submitted as “Confidential
Submissions,” publicly viewable at
https://www.regulations.gov or at the
Dockets Management Staff between 9
am. and 4 p.m., Eastern Time, Monday
through Friday, 240-402-7500.

e Confidential Submissions—To
submit a comment with confidential
information that you do not wish to be
made publicly available, submit your
comments only as a written/paper
submission. You should submit two
copies total. One copy will include the
information you claim to be confidential
with a beading or cover note that states
“THIS DOCUMENT CONTAINS
CONFIDENTIAL INFORMATION.” FDA
will review this copy, including the
claimed confidential information, in its
consideration of comments. The second
copy, which will have the claimed
confidential information redacted/
blacked out, will be available for public
viewing and posted on hitps:// -
www.reguiations.gov. Submit both
copies to the Dockets Management Staff.
If you do not wish your name and
contact information be made publicly
available, you can provide this
information on the cover shect and not
in the body of your comments and you
must identify the information as
“confidential.” Any information marked
as “confidential” will not be disclosed
except in accordance with 21 CFR 10.20
and other applicable disclosure law. For
more information about FDA’s posting
of comments to public dockets, see 80
FR 56469, September 18, 2015, or access
the information at: hitps://
www.govinfo,gov/content/pkg/FR-2015-
09-18/pdff2015-23389 pdf.

Docket: For access to tha docket to
read background. documents or the
electronic and written/paper comments
received, go te htips://
www.regulations.gov and insert the
dacket number, found in brackets in the
heading of this document, into the
“Search” box and follow the prompts
and/or ge to the Dockets Management
Staff, 3630 Fishers Lane, Rm. 1061,
Rockville, MD 20652, 240-402-7500.
FOR FURTHER INFORMATION CONTACT:
Prabhakara Atreya or Christina Vert,
Center for Biologics Evaluation and
Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 11 of 35

 

 

6572 Federal Register/Vol. 87, No. 24/Friday, February 4, 2022 / Notices

Research, Food and Drug manner that most closely resembles an DEPARTMENT OF HEALTH AND
Administration, 10903 New Hampshire in-person advisory committee meeting. HUMAN SERVICES

Ave., Bldg. 71, Silver Spring, MD Procedure: On February 15, 2022, . .
20993-0002, 240-506-4946, frum 8:30 am to 5 p.m. Eastern Time Food and Drug Administration
CBERVABPAC@fSda.hhs.gov; or FDA the meeting is open to the public. [Docket No. FDA-2014-D-1411]
Advisory Committee Information Line, Interested persons may present data,

1-800-741-0138 (301-443-0572 in the information, or views, orally or in Drug Product Tracing: The Effect of

Washington, DC area). A notice in the
Federal Register about last minute
modifications that impact a previously
announced advisory committee meeting
cannot always be published quickly
encugh to provide timely notice.
Therefore, you should always check the
FDA’s website at hitps://www.fda.gov/
AdvisoryCommittees/default.htm and
scroll down to the appropriate advisory
cammiitee meeting link, or call the
advisory committee information line to
learn about possible madifications
before coming to the meeting.
SUPPLEMENTARY INFORMATION: Consistent
with FDA’s regulations, this notice is
being published with less than 15 days
prior to the date of the meeting based on
a determination that convening a
meeting of the Vaccines and Related
Biological Products Advisory
Committee as soon as possible is
warranted. This Federal Kegister notice
could not be published 15 days prior to
the date of the meeting due ta a recent
request to amend the Emergency Use
Authorization {EUA) of the Pfizer-
BioNTech COVID-19 mRNA vaccine for
administration to children 6 months
through 4 years of age, and the need for
prompt discussion of this request given
the COVID—19 pandemic.

Agenda: The meeting presentations
will be heard, viewed, captioned, and
recorded through an online
teleconferencing platform. On February
15, 2022, the committee will meet in
open session to discuss a request to
amend the Emergency Use
Authorization (EUA) of the Pfizer-
BioNTech COVID-19 mRNA vaccine for
administration to children 6 months
through 4 years of age.

FDA intends to make background
material available to the public no later
than 2 business days before the meeting.
If FDA is unable to post the background
material on its website prior to the
meeting, the background material will
be made publicly available at the
Iccation of the advisory committee
meeting, and the background material
will be posted on FDA’s website after
the meeting. Background material is
available at hifps://www.fda.gov/
AdvisoryCommittees/Calendar/
default.him. Scroli down to the
appropriate advisory committee meeting
link. The meeting will include slide
presentations with audio components to
allow the presentation of materials in a

writing, on issues pending before the
committee. AH electronic and written
submissions submitted to the Docket
{see ADDRESSES) on or before February
10, 2022, will be provided to the
committee. Comments received after
February 10, 2022, and by February 14,
2022, will be taken into consideration
by FDA. Oral presentations from the
public will be scheduled between
approximately 1 p.m. and 2 p.m. Eastern
Time. Those individuals interested in
making formal oral presentations should
notify the contact person and submit a
brief statement of the general nature of
the evidence or arguments they wish to
present, the names and addresses of
propused participants, and an
indication of the approximate time
requested to make their presentation on
or before February 8, 2022. Time
allotted for each presentation may be
limited. If the number of registrants
requesting to speak is greater than can
be reasonably accommodated during the
scheduled open public hearing session,
FDA may conduct a lottery to determine
the speakers for the scheduled open
public hearing session. The contact
person will notify interested persons
regarding their request to speak by
February 9, 2022.

For press inquiries, please contact the
Office of Media Affairs at fdaoma®@
fda-hhs.gov or 303-—796-4540.

FDA welcomes the attendance of the
public at its advisory committee
meetings and will make every effort to
accommodate persons with disabilities.
If you require accommodations due to a
disability, please contact Prabhakara
Atreya or Christina Vert (see FoR
FURTHER INFORMATION CONTACT) at least 7
days in advance of the meeting.

FDA is committed to the orderly
conduct of its advisory committee
meetings. Please visit our website at
hitps://www fda.gov/
AdvisoryComunittees/AboutAdvisory
Commniitees/ucm111462.him for
procedures on public conduct during
advisory committee meetings.

Notice of this meeting is given under
the Federal Advisory Committee Act (5
U.S.C. app. 2).

Dated: February 1, 2022.

Lauren K. Roth,

Associate Commissioner for Policy.
[FR Doc. 2022-02390 Filed 2-322; 8:45 am}
BELLING CODE 4164-01-7

Section 585 of the Federal Food, Drug,
and Cosmetic Act--Questions and
Answers; Guidance for Industry;
Availability

AGENCY: Food and Drug Administration,
Department of Health and Human
Services (HHS).

ACTION: Notice of availability.

SUMMARY: The Food and Drug
Administration (FDA or Agency) is
announcing the availability of a final
guidance for industry entitled “Drug
Product Tracing: The Effect of Section
585 of the FD&G Act—Questions and
Answers.” FDA is issuing this guidance
to assist industry and State and local
governments in understanding the
effects of the uniform national policy set
forth in the Federal Food, Drug, and
Cosmetic Act (FD&C Act) that was
added by the Drug Supply Chain
Security Act, which was enacted on
November 27, 2013. This guidance is
intended to belp industry and States
understand the law as it is currently in
effect and clarify its effect on State
product tracing. This guidance finalizes
the draft guidance entitled “The Effect
of Uniform National Policy on Drug
Product Tracing and Wholesale Drug
Distributor and Third-Party Logistics
Provider Standards: Questions and
Answers” issued an October 8, 2014.
DATES: The announcement of the
guidance is published in the Federal
Register on February 4, 2022.
ADDRESSES: You may submit either
electronic or written. comments on
Ageucy guidances at any time as
follows:

 

Electronic Submissions

Submit electronic comments in the
following way:

e Federal eRulemaking Portal:
Attps://www.reguiations.gov. Follow the
instructions for submitting comments.
Comments submitted electronically,
including attachments, to https.//

Hw. lations. gov will be posted to
the docket unchanged. Because your
comment will be made public, you are
solely responsible for ensuring that your
comment does not include any
confidential information that you or a
third party may not wish to be pasted,
such as medical information, your or
anyone else’s Social Security number, or
confidential business information, such
as a manufacturing pracess. Please note
Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 12 of 35

The UPS Store® Electronic Waiver for Notary Services

 

 

 

 

"STORE DATE | NOTARY WAIVER ID ~~ | FIRST AND LAST NAME TELEPHONE

| 6046 | Fri 11 Feb2022 | O000E1F1968E DAVID MERRILL ‘aes

” REFERENCE oo - | | £-MAIL ADDRESS OO |
| Q006C13E9C33

Agreement to Arbitrate Claims

You and We agree that any controversy or claim, whether at law or equity, arising out of or related to the provision of
services by this The UPS Store® center shall be resolved in its entirety by individual (not class-wide ner collective) binding
arbitration, regardless of the date of accrual of such dispute, except for claims that may be filed in courts of limited
jurisdiction such as small claims, justice of the peace, magistrate court, and similar courts with monetary limits of $30,000
or less on their jurisdictions over civil disputes. You and We agree that this agreement to arbitrate claims also applies to
any controversy or claim involving The UPS Store, Inc. or any of its affiliated entities.

Arbitration is the submission of a dispute to a neutral arbitrator, instead of a judge or jury, for a final and binding decision,
known as an “award.” Arbitration provides for more limited discovery than in court, and is subject to limited review by
courts. Each party has an opportunity to present evidence to the arbitrator in writing or through witnesses. An arbitrator can
only award the same damages and relief that a court can award under the law and must honor the terms and conditions in
the Terms.

institutional Arbitration

The arbitration shall be conducted by the American Arbitration Association (AAA) in accordance with its Commercial
Arbitration Rules or, provided that you are an individual consumer and are using this The UPS Store center’s services for
personal {not business) use, the Consumer Arbitration Rules (the “Rules”), and judgment on the award may be entered in
any court of competent jurisdiction. The Rules, including instructions for how to initiate arbitration, are available at
hiips’y

 

Any arbitration under this Agreement will take place on an individual basis; class, mass, consolidated or combined
actions or arbitrations or proceeding as a private attorney general are not permitted. You and We are each waiving
the right to trial by jury. You and We are further giving up the ability to participate in a class, mass, consolidated or
combined action or arbitration.

Place of Arbitration/Number of Arbitrators/Costs of Arbiiration/Governing
Law/Survival

Any arbitration will take place in the county where this The UPS Store® center is located and will be determined by a
single arbitrator.

Any filing fee or administrative fee required of Claimant by the AAA Rules shall be paid by You to the extent such fee
does not exceed the amount of the fee required to commence a similar action in a court that otherwise would have
juvisdiction. For all non-frivolous complaints, We will pay the amount of such fee in excess of that amount. The arbitrator
will allocate the administrative costs and arbitral fees consistent with the applicable rules of the American Arbitration
Association. Reasonable attomncy’s fecs and expenses will be allocated or awarded only to the extent such allocation or
award is available under applicable law.

All issues are for the arbitrator to decide, except that issues relating to the scope, application, and enforceability of the
arbitration provision are for a court to decide. The Federal Arbitration Act governs the interpretation and enforcement of
this provision. This agreement to arbitrate shall survive termination of the Terms.

 

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Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 13 of 35

Severability

Notwithstanding anything to the contrary in the AAA Rules, if any part of this arbitration provision is deemed invalid or
ineffective for any reason, this shall not affect the validity or enforceability of the remainder of this arbitration provision,
and the arbitrator shall have the authority to amend any provisions deemed invalid or ineffective to make the same valid
and enforceable.

Desk Arbitration

For ull disputes conceming an amount less than fifteen thousand dollars ($15,000.00), the parties shail submit their arguments and
evidence to the arbitrator in writing and the arbitrator shall make an award based only on the documents; no hearing will be held
unless the arbitrator in his or her discretion, and upon request of a party, decides it is a necessity to require an in-person hearing.
Notwithstanding this provision, the parties may agree to proceed with desk arbitration at any time.

Access to Small Claims Courts

All parties shall retain the right to seek adjudication in a state court of limited jurisdiction, such as small claims, justice of
ihe peace, magistrate court, and similar courts with monetary limits of less than $30,000 on their jurisdiction over civil
disputes, for individual disputes within the scope of such court’s jurisdiction.

Acknowledgemenis
You and We acknowledge and agree that:

2 WEARE WAIVING THE RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE BETWEEN OR
AMONG US, THE UPS STORE, INC., ITS AFFILIATES OR RELATED THIRD PARTIES;

e@ WEARE WAIVING THE RIGHT TO HAVE A COURT, OTHER THAN A STATE COURT OF LIMITED
JURISDICTION AS DEFINED ABOVE, RESOLVE ANY SUCH DISPUTE,

e° WEARE WAIVING THE RIGHT TO HAVE 4 COURT REVIEW ANY DECISION OR AWARD OF AN
ARBITRATOR, WHETHER INTERIM OR FINAL, EXCEPT FOR APPEALS BASED ON THOSE GROUNDS
FOR VACATUR EXPRESSLY SET FORTH iN SECTION 10 OF THE FEDERAL ARBITRATION ACT.

« YOU AND WE AGREE THAT WE ARE WAIVING THE RIGHT TO SERVE AS A REPRESENTATIVE, AS A
PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY, JOIN AS A CLASS
MEMBER, AND/OR TO PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS IN ANY CLASS,
MASS, CONSOLIDATED OR COMBINED ACTION OR ARBITRATION.

Award

The arbitrator may award money or equitable relief in favor of only the individual party seeking relief and only to the extent
necessary {o provide relief warranted by that party’s individual claim. Similarly, an arbitration award and any judgment
confirming it apply only to that specific case; it cannot be used in any other case except to enforce the award itself. To
reduce the time and expense of the arbitration, the arbitrator will not provide a statement of reasons for his or her award
unless a brief explanation of the reasons is requested by one of the parties. Unless the parties agree otherwise, the arbitrator
may not consolidate more than one person’s claims, and may not otherwise preside over any form of a representative,
private attorney general or class proceeding.

NO

SIGNATURE DATE

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Fri 11 Feb 2022

 

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‘Notice of United States Patent #11,999,999
THE TRIGGER ____

COMES NOW David Merzill of the VAN PELT family AM L This action is on and for
the beball uf the people and plaset Earth.

This :: the application of US Patent 11,999,999; not an application for US Patent
11,990,Y99. ‘This invention and my Naturai Vaccine, Doc 15 hereim, are both refuted te my 2003
inventing “Exedication of SARS" - USPTO Documents Disclosure #531312. Docs 19 and 20 -
Final Judgmeni - here describes and defines proper Notice in good faith, that a much better

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Case 3:16-cv-05520-RJB Document 23

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! Savid Mesnill of the VAN PELT family

i Defendant:

THE UNITED STATES OF AMERICA

David Merrill

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is on and for the behalf of the people and planet Earth.

Sammary of Facts

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ani on Page 3 was an important and deviant oath of office for one Victor J. WOLSKL Page 2 of

Doc 21 shows the cath of Robart BRYAN herein assigned this case as if he were a federal judge.

the document now shows Robext BRE YAN's cath repeated on page 3 of Doc 21 instead of Victor

WLSKT's cath of office, as it was filed.

Title 18 USC §2076 Cleck of United States District Court -

Whoever, being a clerk of a district court of the United States willfully refuses or
neglects to make or foewerd aay report, corlificate, statement. or document a5 required by
Lan. shall be fined ander this title or Imprisoned not more than one year, or both.

Title 18 USC §1512 - Tampering with a witness, victim or an informant -

(b}(2} cause or induce any person to—
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Comments received on or before
February 10, 2022, will be provided to
the committee. Comments received after
February 10, 2022, and by February 14,
2022, will be taken into consideration
by FDA. In the event that the meeting
is cancelled, FDA will continue to
evaluate any relevant applications or
information, and consider any
comments submitted to the docket, as
appropriate.

You may submit comments as
follows:

Electronic Submissions
Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 19 of 35

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February 15,2022: Joint Meeting of the Anesthetic and
Analgesic Drug Products Advisory Committee and the
Drug Safety and Risk Management Advisory Committee -
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Announcement - 02/15/2022

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THIS MEETING IS POSTPONED. Coronavirus (COVID-19) Update: FDA

Postpones Advisory Committee Meeting to Discuss Request for

Authorization of Pfizer-BioNTech COVID-19 Vaccine for Children 6 Months
Through 4 Years of Age | FDA

Agenda

 

The meeting presentations will be heard, viewed, captioned, and recorded through
an online teleconferencing platform. The committee will meet in open session to
discuss a request to amend the Emergency Use Authorization (EUA) of the Pfizer-
BioNTech COVID-19 mRNA vaccine for administration to children 6 months

through 4 vears of age.

Meeting Materials
FDA intends to make background material available to the public no later than 2
business days before the meeting. If FDA is unable to post the background material

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FDA delays meeting on COVID-19 vaccine for kids

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Case 2:21-cv-00702-CLM Document47 Filed 02/16/22 Page 1 of 9 FILED

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U.S, DISTRICT COURT
N.D. OF ALABAMA

IN THE UNITED STATES DISTRICT COURT FOR
THE NORTHERN DISTRICT OF ALABAMA

AMERICA’S FRONTLINE )
DOCTORS, et al, )
)
Plaintiffs, )
)
v. ) Case No. 2:21-cv-702-CLM
)
The UNITED STATES OF AMERICA, )} Supplement to Plaintiffs’ Brief
et al, ) (ECF 43)
)
Defendants. )

COME NOW the Plaintiffs, by and through their undersigned attorneys, and
as their supplemental filing explaining the relevance of the Excel file presented to the
Court on February 8, 2022 (see Order entered on February 8, 2022, ECF 46), do
hereby submit the following:

1. The Excel spread sheet file first presented to the Court on February 8, 2022
(the “File”) is now attached as Exhibit A to this Supplement.

2. The File contains a table of data that has been carefully downloaded from the
Defense Medical Epidemiological Database (“DMED”) by senior military personnel
who are risking everything to serve their country in the best way they know how, now
as whistleblowers.

3. These personnel are LT COL Theresa M. Long, LT COL Peter Chambers,

1LT Mark Bashaw and MAJ Samuel Sigoloff (the “Whistleblowers’”). The
Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 24 of 35

Case 2:21-cv-00702-CLM Document47 Filed 02/16/22 Page 2 of 9

Whistleblowers are U.S. Army medical officers with regular authorized access to
DMED. Each of them regularly accesses DMED as a part of their job. Each of them
has provided undersigned counsel with a declaration under 28 U.S.C. § 1746(2).

4. The DMED website’ explains:

DMED is available to authorized users such as U.S. military providers,

epidemiologists, medical researchers, safety officers or medical operations /

clinical support staff for serving health conditions in the U.S. military.

The purpose of DMED is to standardize the epidemiologic methodology used

to collect, integrate and analyze active component service member personnel

and medical event data, to provide authorized users with remote access to the
summarized data.

5. Each of the Whistleblowers independently queried the DMED database
using the same queries. Each of the Whistleblowers obtained the same shocking
results. Each of the Whistleblowers attempted to discredit and find an alternate
explanation for the results, and each failed. The queries and results are reflected in
the File. The File is populated exclusively with, and faithfully reflects, the DMED
data.

6. The File reveals that prior to the commencement of vaccination within the

DOD with the mRNA COVID-19 vaccines, the incidence of certain diseases and

 

1 The declarations exceed the 10-page limit imposed by the Court in its February 8 Order,
however, counsel will provide them to the Court upon request.

2 https://health .mil/Military-Health-Topics/Combat-Support/Armed-Forces-Health-
Surveillance-Division/Data-Management-and-Technical-Support/Defense-Medical-
Epidemiology-Database
Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 25 of 35

Case 2:21-cv-00702-CLM Document 47 Filed 02/16/22 Page 3o0f9

medical conditions among DOD personnel was predictable and constant at a certain
level over a number of years from 2016 to 2020; HOWEVER, after the
commencement of vaccination within the DOD with the mRNA COVID-19 vaccines
in 2021, the incidence of these diseases and medical conditions among DOD
personnel spiked dramatically,

7. For example, the File shows a 456% increase in acute myocardial infarction,
a 468% increase in pulmonary embolism, a 296% increase in all cancers, a 275%
increase in myocarditis.

8. The data in the File was first disclosed to the general public at a roundtable
hosted by U.S. Senator Ron Johnson (R-WI) on January 24, 2022.' Following the
exposé, the DOD responded with a statement that the dramatic spike in disease and
medical conditions in DOD personnel immediately following the vaccine rollout in
DOD was purely coincidental, and the result of a previously unannounced “glitch”
in its DMED database, and had nothing to do with the vaccines themselves. The
DOD maintains that the database glitch resulted in artificially low incidence numbers
in the years 2016-2020, but that the 2021 data is accurate.

9. The DOD “glitch” story is absurd. It strains credulity that sucha

breathtaking error in the DMED database, which is heavily scrutinized by personnel

‘ https:/Awww.ronjohnson. senate. gov/2022/2/sen-johnson-to-secretary-austin-has-dod-
seen-an-increase-in-medical-diagnoses-among-military-personnel

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Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 26 of 35

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throughout the DOD and other federal agencies, including the agencies employing the

named Defendants, could have gone unnoticed for so long, including during the

height of the pandemic in 2020. It is equally unconvincing that the DMED database

would have magically corrected itself prior to 2021, while leaving all of the old

erroneous data in the system.

10. Further, Plaintiffs have conducted their own investigation, and offer the

attached Declarations of Mathew Crawford (Exhibit B) and Dr. Andrew Huff (Exhibit

C), which are further illuminating and suggest deliberate agency misconduct and

fraud (abuse of discretion).

Respectfully submitted this the 16th day of February, 2021.

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becraft@hiwaay net

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F, R. Jenkins
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Maine Bar No. 004667
Meridian 361 International Law
Group, PLLC
97A Exchange Street, Suite 202
Portland, ME 04101
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Case 2:21-cv-00702-CLM Document47 Filed 02/16/22 Page ‘rx hibi tB

To whom it may concern:

On Monday, January 24, attorney Thomas Renz addressed Senator Ron Johnson and those at
a special five-hour hearing on COVID-19 issues. Renz spoke about alarming increases in
miscarriages, cancers, and neurological conditions based on reports put together by
whistleblowers with access to the Defense Medical Epidemiology Database (DMED).

The Department of Defense (DoD) responded that the increases in rates of illness and disease
reported by Renz were due to a “glitch” in DMED. The DMED was then taken offline for some
time. After DMED was put back online, query reports showed large changes to data queries for
the 2016 through 2020 date range.

Tracking down the glitch reveals an unexplained change of data that can be observed in
Medical Surveillance Monthly Reports (MSMR) published openly online. The May 2021 MSMR
displays annual summaries of major diagnostic categories of ambulatory and hospitalization
reports from 2016, 2018, and 2020. These major diagnostic categories are defined as the
categories with the greatest number of reported events and constitute the vast majority of
medical diagnoses. When comparing the numbers of ambulatory reports to the May 2019
MSMR (which displays summaries from 2014, 2016, and 2018), the totals for these diagnostic
categories for 2016 and 2018 were substantially revised to display increases in all forms of
illness by an average of 17.5% (16.3% after excluding one category called “Other” that included
a change in definition). Presumably these changes took place for all data from 2016 through
2020. Strangely, no such large revisions were made to hospitalization data, which would be
expected if the revisions were due to a large cache of “lost and found” patient reports in which a
proportion of the conditions resulted in hospitalization.

A review of the past decade of MSMR reports show a small handful of revisions larger than 2%,
with nearly all changes in summary data far smaller than 1%. No major systemic data revisions
were observed prior to the May 2021 MSMR. At the time of this report, no explanation was
given for the massive changes in health data that would surely affect biomedical studies on
these diagnostic categories. Best practices would dictate a detailed explanation for large and
sudden changes-—particularly as it pertains to one of the world’s most important medical
databases. Further, the changes in all but one of the 16 major diagnostic categories fit the
changes observed from queries performed after the DMED was put back online, purportedly to
fix the “glitch”. This leads me to believe that the DMED “glitch” clearly corresponds to the large
revisions that appeared in the May 2021 MSMR.

Further, and perhaps more disturbing, the data revisions are not randomly distributed as one
might expect of “lost and found” reports added to a system, or many methods for recalibrating
report definitions. These revisions are most prominent in the categories most heavily
researched as injuries or adverse events associated with the COVID-19 quasi-vaccines,
including those that Renz spoke about in the January 24 hearing.

There are enough signs to conclude with a high probability that the large-scale MSMR revisions
published in May 2021 and associated DMED alterations made in January 2022 were made to
mask illness data from early 2021 associated with vaccine rollouts, and likely fraudulent. An
examination of the data should quickly reveal whether this is the case.
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Case 2:21-cv-00702-CLM Document 47 Filed 02/16/22 Page ae hibi tB

|, Mathew Crawford, declare under penalty of perjury, pursuant to 28 U.S.C. §1746, that the
foregoing facts are true and correct.

Respectfully submitted this the 16th day of February 2022.
Mathew Crawford
Statistical and Data Analyst
Case 3:16-cv-05520-RJB Document 23 Filed 03/03/22 Page 31 of 35

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Case 2:21-cv-00702-CLM Document 47 Filed 02/16/22 Pag Erhibit Cc
DECLARATION OF ANDREW HUFF PH.D., M.S.

To whom it may concern:

On February 16", 1 participated in a presentation by Mathew Crawford from Renz Law Firm
where he explained numerous anomalies in the DMED reports published by the Department of Defense
(DoD). After his presentation, I personally examined the Defense Medical Epidemiology Database
(DMED) data and two different versions of the reported data. The purpose of DMED is “to standardize
the epidemiologic methodolagy used to collect, integrate and analyze active component service member
personne] and medical event data, and to provide authorized users with remote access to the summarized
data.” DMED contains the reasons why DoD personnel were evaluated by medical personnel reported in
the form of International Diagnostic Codes (IDC) revisions 9 and 10. The two reports in question are from
one that was available online prior to January 24, 2022, and second that was published after a “glitch”
was identified and corrected by the DoD. As DMED is one of the most comprehensive and accurate
health record databases in the world, the database contains any potential vaccine injury data related to
mRNA vaccines. After, analyzing both versions of the data, it is my opinion that the data were altered to
distort and hide the true extent of the harm caused to the US Armed Forces by the mRNA vaccines that
were uniformly administered to the population.

In the absence, of any large or major changes in the exposures of DoD personnel ta any other
substance, chemical, toxin, physical, or environmental hazard, there should not be substantial deviations
between the years of reported data. Due to the “glitch” correction, it appears that DMED was altered in a
way to obfuscate mRNA vaccine injuries by increasing the illnesses in the previous years to match the
projected injuries in 2021. Most, notably that such a major correction of this “glitch” would have
triggered these actions by DoD:

* Anaddendum to the report to be issued that explains why the glitch occurred, the changes to the
data that occurred due to correcting the glitch, an explanation of how the glitch was identified,
and the methods used to correct the glitch by DoD personnel.

¢ Due to the large differences in diseases incidence and prevalence, it would normally trigger
investigations into the diseases and health conditions which dramatically increased due to
correcting the “glitch” in previous years, At the time of this letter there appears to be no
investigation to the diseases that dramatically increased incidence, which would be typical for
public health officials and officers reviewing the DMED data.

Due to the circumstances and timing surrounding of the glitch, the lack of proper reporting related to
the glitch’s correction, and the large increases in health conditions reported in previous years data, it
appears that the data were manipulated to obfuscate injuries and diseases caused by mRNA vaccines in

DMED.

I, Andrew Huff, declare under penalty of perjury, pursuant to 28 U.S.C. §1746, that the foregoing facts
are true and correct.

Respectfully submitted this the 16th day of February 2022.

  
 
 

Andrew Huff, Ph.D., M.S.

  
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The UPS Store® Electronic Waiver for Notary Services

 

 

 

 

 

STORE DATE NOTARY WAIVER ID “ FIRST AND LAST NAME TELEFHONE

6046 | Tue1Mar2022 | 00004912D798 DAVID MERRILL a
REFERENCE E-MAIL ADDRESS

0000EB80FF73

 

 

 

Agreement to Arbitrate Claims

You and We agree that any controversy or claim, whether at law or equity, arising out of or related to the provision of
services by this The UPS Store® center shall be resolved in its entirety by individual (not class-wide nor collective) binding
arbitration, regardless of the date of accrual of such dispute, except for claims that may be filed in courts of limited
jurisdiction such as small claims, justice of the peace, magistrate court, and similar courts with monetary limits of $30,000
or less on their jurisdictions over civil disputes. You and We agree that this agreement to arbitrate claims also applies to
any controversy or claim involving The UPS Store, Inc. or any of its affiliated entities.

Arbitration is the submission of a dispute to a neutral arbitrator, instead of a judge or jury, for a final and binding decision,
known as an “award.” Arbitration provides for more limited discovery than in court, and is subject to limited review by
courts. Each party has an opportunity to present evidence to the arbitrator in writing or through witnesses. An arbitrator can
only award the same damages and relief that a court can award under the law and must honor the terms and conditions in
the Terms.

Institutional Arbitration

The arbitration shall be conducted by the American Arbitration Association (AAA) in accordance with its Commercial
Arbitration Rules or, provided that you are an individual consumer and are using this The UPS Store center’s services for
personal (not business) use, the Consumer Arbitration Rules (the “Rules”), and judgment on the award may be entered in
any court of competent jurisdiction. The Rules, including instructions for how to initiate arbitration, are available at
http://www.adr.org.

Any arbitration under this Agreement will take place on an individual basis; class, mass, consolidated or combined
actions or arbitrations or proceeding as a private attorney general are not permitted. You and We are each waiving
the right to trial by jury. You and We are further giving up the ability to participate in a class, mass, consolidated or
combined action or arbitration.

Place of Arbitration/Number of Arbitrators/Costs of Arbitration/Governing
Law/Survival

Any arbitration will take place in the county where this The UPS Store® center is located and will be determined by a
single arbitrator.

Any filing fee or administrative fee required of Claimant by the AAA Rules shall be paid by You to the extent such fee
does not exceed the amount of the fee required to commence a similar action in a court that otherwise would have
jurisdiction. For all non-frivolous complaints, We will pay the amount of such fee in excess of that amount. The arbitrator
will allocate the administrative costs and arbitral fees consistent with the applicable rules of the American Arbitration
Association. Reasonable attorney’s fees and expenses will be allocated or awarded only to the extent such allocation or
award is available under applicable law.

All issues are for the arbitrator to decide, except that issues relating to the scope, application, and enforceability of the
arbitration provision are for a court to decide. The Federal Arbitration Act governs the interpretation and enforcement of
this provision. This agreement to arbitrate shall survive termination of the Terms.

 

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Severability

Notwithstanding anything to the contrary in the AAA Rules, if any part of this arbitration provision is deemed invalid or
ineffective for any reason, this shall not affect the validity or enforceability of the remainder of this arbitration provision,
and the arbitrator shall have the authority to amend any provisions deemed invalid or ineffective to make the same valid

and enforceable.

Desk Arbitration

For all disputes concerning an amount less than fifteen thousand dollars ($15,000.00), the parties shall submit their arguments and
evidence to the arbitrator in writing and the arbitrator shall make an award based only on the documents; no hearing will be held
unless the arbitrator in his or her discretion, and upon request of a party, decides it is a necessity to require an in-person hearing.
Notwithstanding this provision, the parties may agree to proceed with desk arbitration at any time.

Access to Small Claims Courts

All parties shall retain the right to seek adjudication in a state court of limited jurisdiction, such as small claims, justice of
the peace, magistrate court, and similar courts with monetary limits of less than $30,000 on their jurisdiction over civil
disputes, for individual disputes within the scope of such court’s jurisdiction.

Acknowledgements
You and We acknowledge and agree that:

e WEARE WAIVING THE RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE BETWEEN OR
AMONG US, THE UPS STORE, INC., ITS AFFILIATES OR RELATED THIRD PARTIES;

e WE ARE WAIVING THE RIGHT TO HAVE A COURT, OTHER THAN A STATE COURT OF LIMITED
JURISDICTION AS DEFINED ABOVE, RESOLVE ANY SUCH DISPUTE;

e WE ARE WAIVING THE RIGHT TO HAVE A COURT REVIEW ANY DECISION OR AWARD OF AN
ARBITRATOR, WHETHER INTERIM OR FINAL, EXCEPT FOR APPEALS BASED ON THOSE GROUNDS
FOR VACATUR EXPRESSLY SET FORTH IN SECTION 10 OF THE FEDERAL ARBITRATION ACT.

e YOU AND WE AGREE THAT WE ARE WAIVING THE RIGHT TO SERVE AS A REPRESENTATIVE, AS A
PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY, JOIN AS A CLASS
MEMBER, AND/OR TO PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS IN ANY CLASS,
MASS, CONSOLIDATED OR COMBINED ACTION OR ARBITRATION.

Award

The arbitrator may award money or equitable relief in favor of only the individual party seeking relief and only to the extent
necessary to provide relief warranted by that party’s individual claim. Similarly, an arbitration award and any judgment
confirming it apply only to that specific case; it cannot be used in any other case except to enforce the award itself. To
reduce the time and expense of the arbitration, the arbitrator will not provide a statement of reasons for his or her award
unless a brief explanation of the reasons is requested by one of the parties. Unless the parties agree otherwise, the arbitrator
may not consolidate more than one person’s claims, and may not otherwise preside over any form of a representative,
private attorney general or class proceeding.

NO ¢/

Tue 1 Mar 2022

 

 

SIGNATURE DATE

 

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USPS Tracking” oo oo - wo ooh ney . FAQs >

Z Track Another Package +~

“Remove X

Tracking Number: 7 or eso0n00127887e6:

Your item, was ; delivered to an individual a at the address at 42 54 pm on February 40, 2022 4 in :
ROCKVILLE, MD 20850. , , .

USPS Tracking Plus® Available*~/ cs

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February 10, 2022: at. 12:24 prn
ROCKVILLE, MD 20850 _

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Get Updates vv

Text & Email Updates .

 

Tracking History

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‘ROCKVILLE, MD 20850 ° '

-Your item was. delivered to an. individual at the address at 12:24 pm ‘on February 10, 2022 | in’ ,

ROCKVILLE, MD 20850. _

February 10, 2022, 11:08 am
Available for Pickup
ROCKVILLE, MD 20850

February 10, 2022, 10:43'am «.
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February 10, 2022, 10:00 am
‘Available for Pickup -
ROCKVILLE; MD 20850

February 10, 2022, 1: 19am. .
Arrived at USPS Regional Destination: Facility
WASHINGTON DC NETWORK DISTRIBUTION CENTER

Febjtiary 9, 2022
In Transit to Next Facility

. February 8, 2022, ‘6:43 pm-
Arrived at USPS. Origin Facility:
KENT, WA 98035 ~

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TACOMA, WA 98418

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USPS Tracking Plus® -

‘Product Information -.

 

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